     Case 1:19-cv-03205-MHC Document 159 Filed 07/25/22 Page 1 of 11




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION


VISION WARRIORS CHURCH,
INC.,


        Plaintiff,                          CIVIL ACTION FILE

V.                                          NO. 1:19-CV-3205-MHC

CHEROKEE COUNTY,
GEORGIA; HARRY JOHNSTON,
STEVE WEST, RAY GUNNIN,
BENNY CARTER, and COREY
RAGSDALE, Individually and in
their Official Capacities as IVIembers
of the CHEROKEE COUNTY
BOARD OF COMMISSIONERS;
and MICHAEL CHAPMAN,
Individually and in his Official
Capacity as Cherokee County
Zoning Manager,


        Defendants.



                                    ORDER

      This case comes before the Court on Plaintiff Vision Warriors Church, Inc.'s


Motion to Stay Enforcement of the Order of Summary Judgment Pending Appeal

("Pl.'s Mot to Stay") [Doc. 146].
      Case 1:19-cv-03205-MHC Document 159 Filed 07/25/22 Page 2 of 11




I. BACKGROUND

      On February 17, 2022, this Court issued an Order denying Plaintiffs Motion

for Partial Summary Judgment [Doc. 104] and granting Defendants' Motion for

Summary Judgment [Doc. 105]. February 17, 2022, Order [Doc. 132]. The effect

of the Court's Order was to deny Plaintiffs request to enjoin the rescission of a

Tenant Occupancy Permit previously issued by Cherokee County (the "County"),

resulting in the inability of Plaintiff to operate a temporary shelter on property

previously acquired by Plaintiff (the "Property"). Judgment was entered in favor

of Defendants on February 17, 2022 [Doc. 133].

      Plaintiff filed a Notice of Appeal to the United States Court of Appeals for

the Eleventh Circuit on March 3, 2022. PL'S Notice of Appeal [Doc. 135]. Under

Rule 62(a) of the Federal Rules of Civil Procedure, "execution on a judgment and

proceedings to enforce it are stayed for 30 days after its entry, unless the court


orders otherwise." FED. R. CIV. P. 62(a). Plaintiff did not file a motion seeking an


additional period of time for a stay of the Court's judgment either during the 30-

day automatic stay period or at its termination on March 20,2022.

       On April 21, 2022, Plaintiff filed the motion to stay now before the Court.

PL'S Mot. to Stay. Plaintiffs Motion to Stay is filed "[p]ursuant to Fed. R. Civ. P.


62(c)," and is predicated on a letter (the "Letter") received from counsel for
      Case 1:19-cv-03205-MHC Document 159 Filed 07/25/22 Page 3 of 11




Defendants indicating that the Board of Commissioners of Cherokee County

"continues to expect full compliance with the Zoning Ordinance," which would

include "the relocation of members currently residing on the Subject Property." Id.

at 2 n.l .1 Plaintiff asserts that it is likely to succeed on the merits of its appeal, it

will suffer irreparable harm absent the issuance of a stay, and the public interest

favors a stay pending appeal. Id.at 3-25.


       Defendants oppose Plaintiffs motion to stay, contending that "overcrowding

and zoning violations" continue to occur at the Property "to the detriment of the


neighborhood and County." Defs.' Resp. in Opp'n to Pl.'s Mot. to Stay [Doc. 150]


at 2. Defendants assert that there is a separate lawsuit filed by the Cherokee

County Board of Health against Plaintiff based upon a defective sewage septic

system that is causing harm to the public health. Id at 4 (citing Cherokee Cnty Bd.

of Health v. Vision Warriors Church, Inc., No. 21CVE1635 (Super. Ct. of


Cherokee Cnty. Sept. 15, 2021) [Doc. 150-1]). Defendants also assert that it

appears Plaintiff is seeking a stay under Rule 62(d) of the Federal Rules of Civil




1 Plaintiffs Motion to Stay does not attach the Letter. Defendants acknowledge
sending the Letter, which had an original deadline of May 31, 2022, but out of
respect for the Court's consideration of Plaintiff s Motion to Stay, the County has
postponed enforcement pending this Court's determination. See Defs/ Status
Report [Doc. 157].
     Case 1:19-cv-03205-MHC Document 159 Filed 07/25/22 Page 4 of 11




Procedure, and that Plaintiff has failed to meet the required factors to support the

issuance of such a discretionary stay. Id. at 5-14. In particular, with respect to the


required showing of irreparable harm, Defendants state that Plaintiffs principal

has previously testified that current residents could be relocated to another location


in the event they could no longer be housed on the Property. Id. at 12.

      In reply, Plaintiff now states that it seeks a stay under Rule 62(d). Reply in

Supp. of Pl.'s Mot. to Stay [Doc. 151] at 1. Plaintiff also disputes that it can now

relocate residents of the temporary shelter and contends that the septic system


defect has now been resolved. Id. at 2-4 (citing Decl. of Kirk Driskell (May 12,

2022) ("Driskell Decl;') [Doc. 151-1]).

II. DISCUSSION

      As an initial matter, the Court assumes Plaintiffs initial reference to Rule

62(c) of the Federal Rules of Civil Procedure was in error as that rule provides that

certain actions are not stayed, even after an appeal is taken. Federal Rule of Civil


Procedure 62(d) governs the granting of a stay of an injunction pending appeal and

provides in relevant part:


      While an appeal is pending from an interlocutory order or final
      judgment that grants, continues, modifies, refuses, dissolves, or refuses
      to dissolve or modify an injunction, the court may suspend, modify,
      restore, or grant an injunction on terms for bond or other terms that
      secure the opposing party's rights.
     Case 1:19-cv-03205-MHC Document 159 Filed 07/25/22 Page 5 of 11




FED. R. CIV. P. 62(d). "A stay is not a matter of right, even if irreparable injury

might otherwise result." Nken v. Holder, 556 U.S. 418, 434 (2009) (quoting

Virginian Rv. Co. v. United States, 272 U.S. 658, 672 (1926)). "It is instead an

exercise of judicial discretion, and the propriety of its issu[ance] is dependent upon

the circumstances of the particular case." Id. (internal punctuation and citation


omitted).

      In reviewing a motion to stay an injunction pending appeal, a court must

consider "(I) whether the stay applicant has made a strong showing that it is likely

to succeed on the merits, (2) whether the applicant will be irreparably injured

absent a stay, (3) whether [the] issuance of the stay will substantially injure the

other parties interested in the proceeding, and (4) where the public interest lies."

Democratic Exec. Corn. ofFla. v. Lee, 915 F.3d 1312, 1317 (llth Cir. 2019)

(citing Nken, 556 U.S. at 434). The movant bears a "heavy burden" and "must


establish each of these four elements in order to prevail." Larios v. Cox, 305 F.


Supp. 2d 1335, 1336 (N.D. Ga. 2004) (citing Siegel v. Lepore, 234 F.3d 1163,

1176 (11th Cir. 2000) (en banc)); see also Nken, 556 U.S. at 433-34 ("The party

requesting a stay bears the burden of showing that the circumstances justify an

exercise of that discretion."). The first two factors "are the most critical." Nken,


556 U.S. at 434; Lee, 915 F.3d at 1317. "It is not enough that the chance of
     Case 1:19-cv-03205-MHC Document 159 Filed 07/25/22 Page 6 of 11




success on the merits be better than negligible .... By the same token, simply


showing some possibility of irreparable injury . . . fails to satisfy the second

factor." Nken, 556 U.S. at 434-35 (citations and internal quotation marks omitted).


      After review of the four factors, the Court concludes that Plaintiff has not

shown that a stay of the injunction pending appeal is warranted.

      A. Plaintiff is Not Likely to Succeed on the Merits of Its Appeal.

      Plaintiffs argument that it is likely to succeed on appeal is essentially a

repetition of the arguments it asserted at summary judgment, with Plaintiff even

citing directly to its previous Summary Judgment pleadings within the underlying

motion. See PL'S Mot. to Stay at 4-20; see also i± at 4 n.2 ("Plaintiff relies upon


its Motion for Summary Judgment and supporting memorandum . . . and its


Response in Opposition to Defendants' Motion for Summary Judgment... to


support the arguments made herein."). Despite Plaintiffs assertion to the contrary,


the Court considered all the evidence in the record at summary judgment, and the

Court concluded that Plaintiffs claims are not supported by the evidence. See,


e.g., February 17, 2022, Order at 20-28 (considering each of Plaintiff s arguments

made at summary judgment and finding the evidence insufficient to create a


genuine dispute of material fact as to intentional discrimination), 35-36 (finding

insufficient evidence that Plaintiffs request to house a group of its size in one
      Case 1:19-cv-03205-MHC Document 159 Filed 07/25/22 Page 7 of 11




location contributes significantly to recovery), 37-38 (considering the testimony of

Kirk Driskell ("Driskell"), the founder of Vision Warriors, regarding lowered costs

of living for residents, but finding that DriskelPs testimony alone was insufficient

to demonstrate the necessity of the requested accommodation), 41 (dismissing

Plaintiffs equal protection claim because it "ha[d] not provided any evidence that

Defendants were aware of Happy Acres's use of the Property to house


missionaries."). While the Court is sympathetic to Plaintiffs position, none of

Plaintiffs arguments are novel, and it has not provided authority contrary to this

Court's prior findings or otherwise indicating that it is likely to succeed on the

merits of its appeal. For the same reasons discussed at length in this Court's


February 17, 2022, Order, the Court rejects Plaintiffs arguments repeated in its

motion to stay and finds that the factor of likelihood of success weighs against

Plaintiff. Moreover, even if Plaintiff was likely to succeed on the merits of its

appeal, the remaining three factors weigh against the grant of a stay, as explained


below.


      B. Plaintiff Has Not Provided Evidence of Irreparable Injury.

      Plaintiff argues that permitting enforcement of this Court's February 17,

2022, Order would cause irreparable harm because Plaintiff would "be forced to

close its doors effectively rendering it inoperable" and that "[i]ts members'


                                           7
      Case 1:19-cv-03205-MHC Document 159 Filed 07/25/22 Page 8 of 11




recovery will be disrupted, causing the potential for relapse, and they will be

forced to find another program - one that will likely cost much more and be

located further from family and current jobs." Pl.'s Mot. to Stay at 23. The


problem with Plaintiffs argument is that it lacks any supporting evidence.

Deposition testimony from Driskell indicates that Plaintiff previously "held all of

[its] other locations at no more than 50 percent capacity" in order to avoid

displacing residents if Defendants prevailed in the zoning dispute. Dep. of

Timothy Kirk Driskell (Mar. 26, 2021) [Doc. 111] at 323. Although Driskell also

testified that Plaintiff did not hold those spots open indefinitely, his deposition

occurred over a year ago. Id. at 324. Thus, it is not apparent from DriskelPs


testimony what impact allowing enforcement of this Court's February 17, 2022,


Order would presently have on Plaintiffs program members.


      As the party requesting a stay, Plaintiff bears the burden of providing

evidence of irreparable harm. See Larios, 305 F. Supp. 2d at 1336. The Supreme

Court has emphasized that the irreparable harm requirement is exceedingly high;

indeed, in Nlcen, the Supreme Court went so far as to say that an alien resisting


deportation had not shown irreparable harm when seeking a stay pending appeal of

an order of removal. Nken, 556 U.S. at 435. Because Plaintiff has not provided




                                           8
      Case 1:19-cv-03205-MHC Document 159 Filed 07/25/22 Page 9 of 11




any affidavit or other evidence supporting the claims of irreparable harm asserted

in its motion to stay, this factor weighs in favor of Defendants.

       C. Plaintiff Has Not Proven a Lack of Injury to the County or that
             Granting a Stay Is in the Public Interest.

       The final two factors in assessing a requested stay under Rule 62(d) are

whether a stay would injure the opposing party and where the public interest lies.

Lee, 915F.3datl317. "These factors merge when the Government is the


opposing party." Nken, 556 U.S. at 435.


      Plaintiff argues that public policy weighs in favor of issuing a stay because

granting the stay would permit continued treatment of alcoholics and decrease the

likelihood ofhomelessness while Defendants would suffer no identifiable harm.

Pl.'s Mot. to Stay at 23-25. Plaintiff also argues that the lack of identifiable harm

to Defendants is evidenced by a lack of harm sustained from Happy Acres ?s thirty

years of use of the Property for substantially similar activity. In support of its

arguments, Plaintiff asserts that '"it is the policy of the United States to provide,

within constitutional limitations, for fair housing throughout the United States.5"

Id, at 24 (quoting 42 U.S.C. § 3601). Although this citation is correct, Plaintiff

does not explain how enforcement of this Court's February 17, 2022, Order, which


expressly found that there was no evidence of a violation of the Fair Housing Act,


would run contrary to the stated policy.
    Case 1:19-cv-03205-MHC Document 159 Filed 07/25/22 Page 10 of 11




      "Regulation of land use is perhaps the quintessential state activity. State and


local officials have experience in these areas and know best the needs of their

citizenry." Schwarz v. City of Treasure Island, 544 F.3d 1201, 1223 (11th Cir.

2008) (punctuation and citation omitted). Plaintiff has provided no support for the

proposition that Defendants' opposition to Plaintiffs proposed use of the Property

is contrary to public policy or not reflective of the general needs and desires of the

citizens ofCherokee County.2 This Court declines to substitute Plaintiffs

unsupported interpretation of the public interest over the interpretation ofCherokee

County's elected officials. Plaintiff has not met its burden of showing that the

public interest weighs in favor of granting a stay, and the Court finds that the final

two factors also weigh in favor of denying Plaintiffs Motion to Stay.

III. CONCLUSION

      For the foregoing reasons, it is hereby ORDERED that Plaintiff Vision

Warriors Church, Inc. ("Vision Warriors")'s Motion to Stay Enforcement of the




2 The Court does, however, find that Plaintiff has provided sufficient evidence to
refute Defendants' assertion that Plaintiffs use of the Property will overburden the
sewer and septic facilities in the area. See Driskell Decl. ^ 7-9.


                                          10
    Case 1:19-cv-03205-MHC Document 159 Filed 07/25/22 Page 11 of 11




Order of Summary Judgment Pending Appeal [Doc. 146] is DENIED.

     IT IS SO ORDERED this 75^ay of July, 2022.




                                 MARKH.COHEN
                                 United States District Judge




                                   11
